Case 2:16-cv-00773-JRG-RSP Document 69 Filed 06/23/17 Page 1 of 2 PageID #: 2071



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  SENTIUS INTERNATIONAL, LLC,

         Plaintiff,

         v.                                          CIVIL ACTION NO. 2:16-CV-773

  BLACKBERRY LIMITED and
  BLACKBERRY CORPORATION,

         Defendants.

                 DEFENDANTS’ OPPOSED MOTION FOR LEAVE TO FILE
                     SUR-REPLY CLAIM CONSTRUCTION BRIEF

         Plaintiff Sentius International, LLC raised new arguments and issues of law in its reply

  claim construction brief (Dkt. 66). Defendants BlackBerry Limited and BlackBerry Corporation

  respectfully move the Court for leave to file a short sur-reply in order to address these issues in

  advance of the August 18, 2017 Markman hearing in this case.

         A central tenet of Sentius’s reply brief relies on a misreading of the Federal Circuit’s

  decision in a case previously not cited, Enfish v. Microsoft, 822 F.3d 1327, 1336-40 (Fed. Cir.

  2016). Sentius argues Enfish introduced a new standard “that algorithms for known functions

  need not be disclosed.” (Dkt. 66 at 1). Enfish holds no such thing, and Sentius is misstating

  Federal Circuit law to suggest it does. BlackBerry would like an opportunity to address this

  issue briefly in writing in advance of the Markman hearing. Sentius also tries to recast the

  alleged structure for many of its means-plus-function limitations to focus on a “visual editor”

  that is not algorithmic as the law requires, but instead a black-box with no algorithms disclosed.

  Defendants respectfully request leave to file a short sur-reply to address these new arguments by

  Sentius in advance of the August 18 Markman hearing in this case.
Case 2:16-cv-00773-JRG-RSP Document 69 Filed 06/23/17 Page 2 of 2 PageID #: 2072



  Dated: June 23, 2017                            Respectfully Submitted,


                                                   By: /s/ Anthony F. Blum
                                                   Michael A. Parks (IL 6217230)
                                                   Anthony F. Blum (IL 6298243)
                                                   THOMPSON COBURN LLP
                                                   55 East Monroe Street, 37th Floor
                                                   Chicago, Illinois 60603
                                                   312-580-2237
                                                   FAX 312-580-2201
                                                   mparks@thompsoncoburn.com
                                                   ablum@thompsoncoburn.com

                                                   Attorneys for Defendants



                               CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that counsel has complied with the meet and confer

  requirement of Local Rule CV-7(h) and that the motion is opposed. Counsel for BlackBerry and

  Plaintiff discussed the issues presented here via telephone on June 23, 2017. Plaintiff indicated

  that it was opposed to the relief sought herein. Discussion have resulted at an impasse leaving an

  open issue for the Court to resolve.

                                                   /s/ Anthony F. Blum
                                                   Anthony F. Blum



                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3) on this 23rd day of June 2017.



                                                   /s/ Anthony F. Blum
                                                   Anthony F. Blum

                                                 -2-
